Case 4:19-cv-10996-MFL-RSW ECF No. 28, PageID.762 Filed 11/05/21 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TALETHA MICHELLE COUSINS,

      Plaintiff,                                    Case No. 19-cv-10996
                                                    Hon. Matthew F. Leitman
v.

COMMISSIONER OF
SOCIAL SECURITY,

     Defendant.
__________________________________________________________________/

 ORDER DIRECTING PLAINTIFF’S COUNSEL TO FILE REPLY BRIEF

      In this action, Plaintiff Taletha Michelle Cousins challenged the denial of her

application for Disability Insurance Benefits. (See Compl., ECF No. 1.) On July 8,

2020, the Court entered judgment in favor of Cousins and remanded this action to

the Commissioner of Social Security for additional administrative proceedings. (See

Judgment, ECF No. 22.) On remand, Cousins was awarded disability benefits.

      On July 28, 2021, Cousins’ counsel filed a petition for attorney fees pursuant

to 42 U.S.C. § 406(b). (See Pet., ECF No. 24.) In the petition, Cousins’ counsel

seeks “an award of an attorney fee in the amount of $9,022.15.” (Id., PageID.713.)

Counsel further indicated that if the Court awarded her that fee award, counsel would

“repay [Cousins] $3,500 – the amount that was previously awarded under the Equal




                                         1
Case 4:19-cv-10996-MFL-RSW ECF No. 28, PageID.763 Filed 11/05/21 Page 2 of 3




Access to Justice Act (“EAJA”).” (Id., PageID.715.) The Commissioner does not

appear to oppose counsel’s fee request. (See Resp., ECF No. 25.)

      On August 24, 2021, Cousins’ counsel filed a “notice” with the Court. (See

Notice, ECF No. 26.) In the notice, Cousins’ counsel informed the Court that her

initial fee request was in error. Cousins’ counsel told the Court:

             Petitioner hereby corrects one error made in the fee
             petition previously filed in this matter on July 28, 2021. In
             this petition, Petitioner wrote that the total fee received
             would be $5,522 following repayment of the EAJA fees in
             this matter (Motion point #10). This is incorrect. Petitioner
             mistakenly subtracted the EAJA amount from the
             $9,022.15 being sought in this matter, rather than for the
             total amount received in attorney fees. After repayment of
             the EAJA fees to Plaintiff, the total amount of attorney
             fees in this matter in this matter would be $9,022.15, to be
             split between Petitioner and Daryl Royal (the previous
             federal attorney in this matter) after receipt. Nevertheless,
             Defendant has indicated in response to Petitioner’s motion
             that this amount ($9,022.15) would not result in a windfall
             to Plaintiff’s attorneys.

(Id., PageID.757.) The Commissioner responded to the Notice on August 24, 2021.

(See Resp. to Notice, ECF No. 27.) The Commissioner argued that the notice was

“confusing and incorrect.” (Id., PageID.760.) The Commissioner further pointed out

that “[i]t [was] unclear how the total amount of fees could be $9,022.15 after

repayment of EAJA fees to [Cousins].” (Id.) The Commissioner asserted that if the

Court granted the fee petition, “it should award $9,022.15 and direct that [Cousins’

counsel] refund $3,500 to [Cousins].” (Id., PageID.761.)

                                          2
Case 4:19-cv-10996-MFL-RSW ECF No. 28, PageID.764 Filed 11/05/21 Page 3 of 3




      The Court agrees that the precise relief Cousins’ counsel is seeking is unclear.

Accordingly, Cousins’ counsel shall file a reply brief in further support of her fee

petition by no later than November 23, 2021. In the reply brief, Cousins’ counsel

shall (1) respond to the arguments made by the Commissioner in the Commissioner’s

August 24 response to counsel’s notice, (2) identify precisely how much in fees that

counsel is asking that the Court award her, and (3) identify how much of that fee

award would be refunded to Cousins due to the previous award of EAJA fees.

      IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE
Dated: November 5, 2021

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on November 5, 2021, by electronic means and/or
ordinary mail.

                                       s/Holly A. Monda
                                       Case Manager
                                       (810) 341-9764




                                          3
